         Case 6:23-cv-00724-JKP Document 12 Filed 10/30/23 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


     UNWIRED GLOBAL SYSTEMS LLC,                             Case No. 6:23-cv-00724-JKP

                Plaintiff,                                   Patent Case

                v.                                           Jury Trial Demanded

     KALKI COMMUNICATION
     TECHNOLOGIES PRIVATE LIMITED,

                Defendant.



                                 JOINT STIPULATION OF DISMISSAL


      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Unwired Global

Systems LLC (“Plaintiff”) and Defendant Kalki Communication Technologies Private Limited

(“Defendant”) hereby stipulate to dismiss all claims against Defendant WITH PREJUDICE and

all counterclaims against Plaintiff WITHOUT PREJUDICE.

      Each party shall bear its own costs, expenses, and attorneys’ fees.


Dated: October 30, 2023                     Respectfully submitted,

                                            /s/ Isaac Rabicoff
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                                               1
Case 6:23-cv-00724-JKP Document 12 Filed 10/30/23 Page 2 of 3




                           /s/ Lance Wyatt
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                              2
         Case 6:23-cv-00724-JKP Document 12 Filed 10/30/23 Page 3 of 3




                                      CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing document was served on all parties

who have appeared in this case on October 30, 2023 via the Court’s CM/ECF system.



                                            /s/ Isaac Rabicoff
                                            Isaac Rabicoff




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